         Case 1:17-cr-10042-NMG Document 121 Filed 11/24/21 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        )
                                                )
                                                )
v.                                              ) Criminal No. 17-10042-NMG
                                                )
EDGAR BELIS                                     )

      Defendant's Motion for Re-Sentencing Pursuant to 28 U.S.C. § 2255, and to Stay
                                      Proceedings

       Pursuant to 28 U.S.C. § 2255, Edgar Belis moves that this Honorable Court vacate his

sentence and remand the case for resentencing, based upon vacateur of at least one state

sentence, (and potentially additional state sentences) that revealed fundamental defects, that if

uncorrected, would result in a miscarriage of justice because the vacateur of his state convictions

in light of the fact that a state chemist had falsified drug analysis certificates and contaminated

negative samples so that they would test positive, constitutes an exceptional circumstance, and

that the defendant's sentence in this case was increased based on such state court convictions.

See also, Cuevas v. United States, 778 F.3d 267 (2015).

       The defendant files this motion on the eve of the one-year date of the denial of his First

Circuit appeal, and requests that the proceedings be stayed. Defense counsel files this motion to

ensure that Mr. Belis's rights are preserved, and to update the Court regarding the ongoing due

diligence exercised by Mr. Belis in pursuing vacateur of his prior convictions that enhanced his

sentence in this case.

       In support of this motion, Mr. Belis states the following:

       1. On April 27, 2018, Mr. Belis pled guilty to a two-count Indictment. Count 1 charged

Possession with intent to distribute cocaine and 400 grams of Fentanyl, in violation of 21 U.S.



                                                  1
        Case 1:17-cr-10042-NMG Document 121 Filed 11/24/21 Page 2 of 4




C. § 841(a)(1); 21 U.S.C. §841(b)(1)(A)(vi); Count 2 charged Felon in Possession of a Firearm

and Ammunition, in violation of 18 U.S. C. § 922(g)(1) and 18 U.S.C. § 922(e)(1).

       2. The minimum mandatory sentence Mr. Belis faced was fifteen years in Federal Prison.

Based on certain prior convictions in Massachusetts State Court, probation determined that Mr.

Belis was both an Armed Career Criminal and Career Offender under the United States

Sentencing Guidelines. On December 18, 2018, he was sentenced to 190 months in Federal

Prison, followed by five years of supervised release. He remains in the custody of the BOP, and

is currently being held at FCI-Fort Dix.

       3. Mr. Belis pursued an appeal of his sentence, as well as pursuant to Rehaif v. United

States, 139 S. Ct. 2191, 2194 (2019). The First Circuit formally denied the appeal on November

25, 2020.

       4. In March of 2021, the Suffolk County District Attorney's office ("SCDAO"),

announced that it would seek to vacate all drug convictions where the substances were tested at

the Hinton Laboratory between 2003 and 2012 because of the malfeasance of now-disgraced

chemist, Annie Dookhan.

       5. For Mr. Belis, this would directly implicate three of the four prior state convictions for

drug offenses that enhanced his guideline sentence both as Armed Career Criminal, and a Career

Offender. If successful, Mr. Belis would have one lone prior conviction for possession with

intent to distribute heroin from 2013 out of Dorchester District Court, which would make him

ineligible for designation as either a Career Offender or Armed Career Criminal.

       6. Mr. Belis has appointed counsel through the Committee for Public Counsel Services

regarding the motions for new trial in Massachusetts Court, Kathryn Ohren.




                                                 2
         Case 1:17-cr-10042-NMG Document 121 Filed 11/24/21 Page 3 of 4




        7. Attorney Ohren has filed motions for new trial in three cases: Suffolk Superior Court

0484-CR-10516; Dorchester District Court 0607-CR-6580; and; Suffolk Superior Court 0984-

CR-10547.

        8. To date, Mr. Belis's Suffolk Superior Court 0984-CR-10547 conviction has been

overturned. His motion for new trial in 0484-CR-10516 has been denied, but is on appeal. He

has filed a motion for new trial on 0607-CR-6580, but it has yet to be acted upon by the

Dorchester District Court.

        9. This is defendant’s first motion pursuant to 28 U.S.C. § 2255.

        10. Currently, with the lone overturned conviction, the defendant's guideline sentence

range remains unchanged.

        11. The defendant files this motion on this date and requests to stay the proceedings to

ensure that Mr. Belis's rights pursuant to 28 U.S.C. § 2255 are sufficiently preserved so that if

the issue becomes ripe in the future, that this filing stands as a time marker so that the Court and

the government are aware of Mr. Belis's continued efforts toward vacateur of his prior state

convictions.

        12. As reasons therefore, the defendant requests no action be taken on this motion at this

time.

                                         CONCLUSION

        For the foregoing reasons, Mr. Belis respectfully requests that this Court vacate his

sentence, but order that proceedings on this motion be stayed until the issue becomes ripe for

argument.




                                                  3
           Case 1:17-cr-10042-NMG Document 121 Filed 11/24/21 Page 4 of 4




                                     Respectfully submitted,

                                      By:

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                               CERTIFICATE OF SERVICE


   The government hereby certifies that the foregoing was this day filed through the ECF system
and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (“NEF”) and paper copies will be sent to those indicated as non-registered
participants.


                  /s/ Austin C. Tzeng, Esq.
                  Austin C. Tzeng, Esq.
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